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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division
  UNITED STATES, et al.,                        )
                                                )
                         Plaintiffs,            )
         v.                                     )      No. 1:23-cv-00108-LMB-JFA
                                                )
  GOOGLE LLC,                                   )
                                                )
                         Defendant.             )


      MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION TO SEAL

         Pursuant to Local Civil Rule 5, Plaintiffs, through their undersigned counsel, hereby

  respectfully submit the instant memorandum of law in support of their motion to seal portions of

  their Response to Google’s Motion to Strike Jury Demand and to Dismiss, ECF No. 628. The

  redacted portions of the memorandum contain information designated by Defendant as

  confidential or highly confidential under the protective order (ECF No. 203). The unredacted

  exhibit has been filed electronically using the sealed filing events at ECF No. 690.

         The redacted portion of Plaintiffs’ memorandum references certain numerical

  calculations derived from information that Google has designated as confidential or highly

  confidential. But for the requirements of the Protective Order, Plaintiffs would not seek to seal

  these portions of the exhibit.

         Public access to judicial records is “protected both by the common law and the First

  Amendment.” Stone v. Univ. of Md. Med. Sys. Corp., 855 F.2d 178, 180 (4th Cir. 1988). “The

  common law presumes a right of the public to inspect and copy ‘all judicial records and

  documents.’” Id. (quoting Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 597 (1978)). The

  common law presumption in favor of public access can be overcome only by a showing that a

  litigant has “some significant interest that outweighs the presumption.” Rushford v. New Yorker
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  Magazine, Inc., 846 F.2d 249, 253 (4th Cir. 1988). Accordingly, before ordering the sealing of a

  document, a district court must “(1) provide public notice of the request to seal and allow

  interested parties a reasonable opportunity to object, (2) consider less drastic alternatives to

  sealing the document[], and (3) provide specific reasons and factual findings supporting its

  decision to seal the document[] and for rejecting the alternatives.” Ashcraft v. Conoco, Inc., 218

  F.3d 288, 302 (4th Cir. 2000); see also Local Civ. R. 5(C).

         Plaintiffs do not believe the information redacted from their memorandum is of a type

  that outweighs the presumption in favor of public access. Nonetheless, because the material was

  designated as confidential or highly confidential by Google, Plaintiffs have filed the present

  motion in accordance with their obligations under the Protective Order. As stated in the notice

  filed concurrently with this memorandum, any interested member of the public and any other

  party may indicate their position on the motion.

                                            CONCLUSION

         For the foregoing reasons, Plaintiffs respectfully request that the Court seal ECF No. 690,

  and permit the redacted version of Plaintiffs’ Memorandum in Opposition (ECF No.688) to

  remain on the public docket.




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  Dated: May 30, 2024

  Respectfully submitted,

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